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                                                                      UNITED STATES DISTRICT COURT
                                            14
                                                                     CENTRAL DISTRICT OF CALIFORNIA
                                            15
                                                                    (WESTERN DIVISION – LOS ANGELES)
                                            16
                                            17
                                               GRANT MCKEE, ERIC WEBER, and               Case No.: 2:17-cv-01941 GW (Ex)
                                            18 MICHAEL ROGAWSKI, individually
                                               and on behalf of all others similarly      AUDIBLE’S NOTICE OF
                                            19 situated,                                  MOTION AND MOTION TO
                                                                                          STAY CASE AS TO ERIC
                                            20                  Plaintiffs,               WEBER; MEMORANDUM OF
                                                                                          POINTS AND AUTHORITES IN
                                            21        v.                                  SUPPORT THEREOF
                                            22 AUDIBLE, INC.,                             Date:   July 23, 2018
                                                                                          Time:   8:30 AM
                                            23                  Defendant.                Crtm:   9D
                                                                                          Judge:  George H. Wu
                                            24                                            TRIAL DATE: NONE SET
                                            25
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                                                 AUDIBLE’S MOTION TO STAY AS TO
                                                 ERIC WEBER                                       CASE NO. 2:17-CV-01941 GW (EX)
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                                             1                       NOTICE OF MOTION AND MOTION
                                             2         PLEASE TAKE NOTICE that on July 23, 2018 at 8:30 a.m., or as soon
                                             3 thereafter as the matter may be heard in Courtroom 9(D) of the U.S. District Court
                                             4 for the Central District of California, located at 350 West First Street, Los Angeles,
                                             5 CA, 90012, Defendant Audible, Inc. will and hereby does move the Court for an
                                             6 order staying this case as to plaintiff Eric Weber. Audible brings this motion
                                             7 pursuant to Federal Rules of Civil Procedure 12(b)(1).
                                             8         This Motion is based on this Notice of Motion and Motion, Defendant’s
                                             9 Memorandum of Points and Authorities, all documents in the Court’s file, and on
                                            10 such other argument as may be presented to the Court.
                                            11         This motion is made following the conference of counsel pursuant to Local
                                            12 Rule 7-3, which took place on May 18, 2018.
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                                            14 Dated: June 4, 2018                     FENWICK & WEST LLP
                                            15
                                                                                       By: /s/ Jedediah Wakefield
                                            16                                             Jedediah Wakefield
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                                                 ERIC WEBER                               1             CASE NO. 2:17-CV-01941 GW (EX)
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                                             1                   MEMORANDUM OF POINTS AND AUTHORITIES
                                             2                                        INTRODUCTION
                                             3            On April 6, 2018, this Court denied Audible’s Motion to Compel Arbitration
                                             4 as to Plaintiff Eric Weber (“Arbitration Motion”). Audible has appealed that ruling
                                             5 to the Ninth Circuit Court of Appeals. The Ninth Circuit has already set a schedule
                                             6 that calls for briefing to be complete by October 1, 2018, and Audible will pursue
                                             7 the appeal expeditiously.1 In the meantime, Audible respectfully moves for a stay
                                             8 of all activity in this Court related to Mr. Weber’s claim while Audible seeks
                                             9 appellate review.
                                            10            The Court should stay the proceedings as to Mr. Weber’s claim while the
                                            11 appeal is decided. Applying the relevant four factor standard, district courts in this
                                            12 Circuit routinely grant stays pending appeal of a denial of a motion to compel
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                                            13 arbitration. First, the appeal raises substantial, non-frivolous legal questions and
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                                            14 has a fair prospect of success. The Court’s April 6, 2018 Order denied the
                                            15 Arbitration Motion, finding that Mr. Weber’s assent to the Amazon COU did not
                                            16 require arbitration of his claim against Audible, despite the fact that his claim is
                                            17 reliant upon a credit card that he provided to Amazon and the use of his Amazon
                                            18 account to sign up and make purchases from Audible. Under the precedents that
                                            19 directly address analogous circumstances, it is at least a substantial legal question
                                            20 whether Mr. Weber may be compelled to arbitrate his dispute under the terms he
                                            21 agreed to with the company to which he submitted that card, and the parent
                                            22 company of the defendant company. Because of the de novo standard of review
                                            23 that applies, Audible has a substantial possibility of success, and a stay is
                                            24 appropriate.
                                            25            Second, denying a stay would cause Audible irreparable harm. Litigation in
                                            26
                                            27   1
                                                Under the schedule set by the Ninth Circuit on May 4, 2018, Audible’s opening
                                               appeal brief is due August 13, 2018; Plaintiffs’ opposition brief is due September
                                            28 10, 2018; and any reply brief is due October 1, 2018.
                                                     AUDIBLE’S MOTION TO STAY AS TO
                                                     ERIC WEBER                             2            CASE NO. 2:17-CV-01941 GW (EX)
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                                             1 this Court constitutes precisely the harm that the arbitration agreements and the
                                             2 Federal Arbitration Act intended to avoid. Audible would be forced to litigate in
                                             3 the District Court on a putative class basis while pursuing an appeal that raises
                                             4 serious legal questions, in effect depriving them of the right to timely and
                                             5 efficiently arbitrate Mr. Weber’s claims on an individual basis, even if the Court of
                                             6 Appeals concludes that arbitration is appropriate. Advantages of arbitration in
                                             7 terms of efficiency or economy would be lost forever, as further delving into
                                             8 pretrial motions and discovery before Audible’s appeal is decided would result in
                                             9 an irreparable waste of resources in the event that the Ninth Circuit reverses the
                                            10 Order.
                                            11         Third, in contrast, there is no meaningful harm to Mr. Weber from a stay
                                            12 pending appeal. Although this case was first filed over one year ago, Mr. Weber
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                                            13 was only added to the case in December 2017, the case is still at a very early stage,
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                                            14 and there is no meaningfully greater risk of a loss of evidence if proceedings in this
                                            15 Court are stayed pending appeal.
                                            16         Fourth, the public policy favoring conservation of judicial resources and
                                            17 encouraging arbitration strongly supports a stay. It would not make sense for
                                            18 proceedings in the district court concerning Mr. Weber to advance while the Ninth
                                            19 Circuit decides whether the claims should be in arbitration in the first place. A stay
                                            20 would avoid both the possibility of conflicting rulings between this Court and the
                                            21 Ninth Circuit, and the substantial investment of further resources by this Court and
                                            22 the parties on class discovery and class certification issues, all of which may be
                                            23 rendered unnecessary if the appeal is successful.
                                            24                                    BACKGROUND
                                            25         The background is summarized in the Court’s Order, Dkt. No. 97 at 1-4. On
                                            26 December 15, 2017, Plaintiffs filed their Second Amended Complaint (SAC),
                                            27 adding Mr. Weber as a party to this action. Dkt. No. 65. On January 22 and
                                            28 February 26, 2018, Audible filed its Arbitration Motion [Dkt. No. 73] and Reply in
                                                 AUDIBLE’S MOTION TO STAY AS TO
                                                 ERIC WEBER                               3             CASE NO. 2:17-CV-01941 GW (EX)
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                                             1 Support of its Arbitration Motion [Dkt. No. 82]. In that motion, Audible argued
                                             2 that because Mr. Weber’s only alleged injury is that the credit card he placed on his
                                             3 Amazon account was charged when he used that account to sign up for Audible, his
                                             4 claims “relate to” his use of the Amazon service and therefore fall squarely within
                                             5 his agreement to arbitrate under the Amazon Conditions of Use (COU).
                                             6         The Court held two hearings on the Arbitration Motion on March 12 and
                                             7 April 2, 2018, and issued the Order denying the Arbitration Motion on April 6,
                                             8 2018. Dkt. No. 97. In the Order, this Court held that the Amazon COU does not
                                             9 bind Weber to arbitrate claims against Audible, regardless of whether Weber’s
                                            10 claims relate to his use of Amazon. Id. at 21.
                                            11         On May 3, 2018, Audible filed its Notice of Appeal. Dkt. No. 107. On May
                                            12 4, 2018, the Ninth Circuit issued the following briefing schedule for the Appeal:
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                                            13 Opening brief due by August 13, 2018; Answering brief due by September 10,
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                                            14 2018; Reply brief due 21 days after service of the Answering brief. Dkt. No. 109.
                                            15                                      ARGUMENT
                                            16         A district court has the inherent power to stay proceedings and may do so
                                            17 within its discretion. Britton v. Co-op Banking Group, 916 F.2d 1405, 1412 (9th
                                            18 Cir. 1990) (stay pending appeal from denial of motion to compel arbitration is
                                            19 “proper subject for the exercise of discretion by the trial court”). A stay is
                                            20 appropriate when it would serve the interests of judicial economy and efficiency.
                                            21 See Britton, 916 F.2d at 1412; Leyva v. Certified Growers of Cal., Ltd., 593 F.2d
                                            22 857, 863-64 (9th Cir. 1979) (“A trial court may, with propriety, find it is efficient
                                            23 for its own docket and the fairest course for the parties to enter a stay of an action
                                            24 before it, pending resolution of independent proceedings which bear upon the
                                            25 case.”).
                                            26         In determining whether a stay is proper, a district court should consider (1)
                                            27 whether the appeal raises serious legal questions or has a fair prospect of success,
                                            28 (2) whether the applicant will be irreparably injured absent a stay, (3) whether
                                                  AUDIBLE’S MOTION TO STAY AS TO
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                                             1 issuance of the stay will substantially injure the other parties interested in the
                                             2 proceeding, and (4) where the public interest lies. See Nken v. Holder, 556 U.S.
                                             3 418, 426 (2009) (articulating traditional stay factors in determining whether courts
                                             4 of appeals considering a petition for review of removal may prevent the order from
                                             5 taking effect while adjudicating the petition); Leiva-Perez v. Holder, 640 F.3d 962,
                                             6 966-68 (9th Cir. 2011) (interpreting first Nken factor as requiring that the appeal
                                             7 raise serious legal questions or have a reasonable probability or fair prospect of
                                             8 success).
                                             9         Although district courts within the Ninth Circuit, unlike those in the majority
                                            10 of other circuits, hold that they are not required to automatically stay proceedings
                                            11 upon the appeal of an order denying a motion to compel arbitration, see Britton,
                                            12 916 F.2d at 1411, they routinely do so, as the cases cited below reflect. This is
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                                            13 because the relevant factors almost always favor a stay when an order denying
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                                            14 arbitration is being appealed. This case is no exception.
                                            15 I.      THE COURT SHOULD GRANT A STAY BECAUSE THE APPEAL
                                                       PRESENTS A SERIOUS LEGAL QUESTION AND HAS A FAIR
                                            16         PROSPECT OF SUCCESS.
                                            17         The appeal here raises substantial, non-frivolous legal questions and has a
                                            18 fair prospect of success, so the first element of the standard alone supports grant of
                                            19 a stay. See Britton, 916 F.2d at 1412 (“The system created by the Federal
                                            20 Arbitration Act allows the district court to evaluate the merits of the movant's
                                            21 claim, and if, for instance, the court finds that the motion presents a substantial
                                            22 question, to stay the proceedings pending an appeal from its refusal to compel
                                            23 arbitration.”) (citations omitted); Laster v. T-Mobile USA, Inc., No. 05CV1167
                                            24 DMS (AJB), 2008 WL 5377635 (S.D. Cal. Nov. 4, 2008) (granting stay where
                                            25 question of enforceability of revised class arbitration waiver presented a substantial
                                            26 question and where balance of equities favored a stay without examining remaining
                                            27 Nken factors); Jones v. Deutsche Bank AG, No. C 04-05357 JW, 2007 WL
                                            28 1456041, at *2 (N.D. Cal. May 17, 2007) (granting a stay pending appeal because
                                                  AUDIBLE’S MOTION TO STAY AS TO
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                                              1 whether non-signatories to an arbitration agreement may equitably estop signatories
                                              2 from litigation raised “substantial questions concerning the law of arbitrability and
                                              3 the doctrine of equitable estoppel in the Ninth Circuit”).
                                              4         Central to the Arbitration Motion (and to the Court’s Order denying it) was
                                              5 whether an Audible customer that used his Amazon account to access Audible, and
                                              6 whose credit card lodged with Amazon was used to pay for his Audible fees, could
                                              7 be held to the arbitration agreement in Amazon’s terms when he tried to sue
                                              8 Audible (but not Audible’s parent company, Amazon). Other courts in analogous
                                              9 cases have found that the parent company’s arbitration terms applied, on four
                                             10 possible bases: (1) because the customer’s interaction with the subsidiary was
                                             11 governed by the parent company’s agreement; (2) because the subsidiary is a third
                                             12 party beneficiary of the agreement; (3) because the subsidiary acted as the parent
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                                             13 company’s agent in executing the terms of the agreement; or (4) because equitable
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                                             14 estoppel was appropriate where the subject matter of the dispute was intertwined
                                             15 with the contract providing for arbitration. See, e.g., Amisil Holdings Ltd. v.
                                             16 Clarium Capital Management, 622 F.Supp.2d 825, 833 (N.D. Cal. 2007) (quoting
                                             17 Arnold v. Arnold Corp.–Printed Communications for Business, 920 F.2d 1269,
                                             18 1281 (6th Cir. 1990) (agency principles govern arbitration agreements “because, if
                                             19 a party could ‘avoid the practical consequences of an agreement to arbitrate by
                                             20 naming nonsignatory parties as [defendants] in his complaint, ... the effect of the
                                             21 rule requiring arbitration would, in effect, be nullified’”) (alterations in original);
                                             22 Smith v. Massachusetts Mutual Life Insurance Co., No. CV09-06765, 2010 WL
                                             23 11545610 at *7-9 (C.D. Cal. May 25, 2010) (describing case law and justifications
                                             24 for agency and estoppel applications of arbitration provisions, and holding that an
                                             25 arbitration agreement with a parent company was enforceable as to the consumer’s
                                             26 litigation against the subsidiary); In re Verisign, Inc., Derivative Litig., 531 F.
                                             27 Supp. 2d 1173, 1224 (N.D. Cal. 2007) (holding that arbitration agreement that
                                             28 covered disputes and claims involving “any entity for whose benefit the services in
                                                   AUDIBLE’S MOTION TO STAY AS TO
                                                   ERIC WEBER                                6             CASE NO. 2:17-CV-01941 GW (EX)
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                                              1 question are or were provided” had broad scope and retroactive effect). Under each
                                              2 of these three principles, Mr. Weber should be compelled to arbitrate his dispute
                                              3 with Amazon’s processing of his payments, despite the fact that he sued Amazon’s
                                              4 subsidiary, Audible.
                                              5         Audible recognizes that this Court ruled that Mr. Weber’s arbitration
                                              6 agreement with Amazon did not require Mr. Weber to arbitrate his claim when he
                                              7 asserted it against Amazon’s subsidiary, Audible, instead of asserting it against
                                              8 Amazon directly. But Audible respectfully suggests that reasonable minds may
                                              9 differ on the question of whether a party should be able to dodge a commitment to
                                             10 arbitration by suing a subsidiary, particularly in such a case as this where the
                                             11 services provided by the subsidiary were first initiated through Mr. Weber’s
                                             12 Amazon account.
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                                             13         To find that the appeal raises a serious legal question, the Court is not
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                                             14 required to conclude that the Ninth Circuit will reverse its decision. See Murphy v.
                                             15 DirecTV, Inc., No. 2:07-06465, 2008 WL 8608808, at *2 (C.D. Cal. July 1, 2008);
                                             16 see also C.B.S. Employees Fed. Credit Union v. Donaldson Lufkin & Jenrette Sec.
                                             17 Corp., 716 F. Supp. 307, 309 (W.D. Tenn. 1989) (explaining that the first prong of
                                             18 the test is satisfied when the movant present a “serious legal question” because “it
                                             19 is unlikely a district court would ever be able to find that defendants will be likely
                                             20 to succeed on the merits of their appeal”). Rather, the Court need only find that the
                                             21 question presented here, whether an arbitration clause in a parent company’s terms
                                             22 may compel arbitration between its subsidiary and a customer that had agreed to
                                             23 those terms, presents a substantial question. See Steiner v. Apple Computer, Inc.,
                                             24 No. C 07-04486 SBA, 2008 WL 1925197, at*3 (N.D. Cal. Apr. 29, 2008) (AT&T’s
                                             25 arbitration motion, which raised the issue of whether its class arbitration waiver was
                                             26 unconscionable or not, was substantial because reasonable persons could disagree
                                             27 on the answer).
                                             28         In addition, the legal issues raised in the appeal are substantial because they
                                                   AUDIBLE’S MOTION TO STAY AS TO
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                                              1 address important issues of widespread consumer concern. See Steiner, 2008 WL
                                              2 1925197, at*3 (granting stay because AT&T’s appeal regarding the issue of
                                              3 whether its class arbitration waiver was unconscionable involved an important issue
                                              4 of consumer concern).
                                              5         Notably, the applicable standard only requires that the appeal raise serious
                                              6 legal questions or have a reasonable prospect of success. Leiva-Perez, 640 F.3d at
                                              7 971. In addition, to prevail on this factor, Audible does not need to show that
                                              8 success is more likely than not. See id. at 968. Indeed, one California district court
                                              9 has suggested that an appellant has a fair prospect of success on appeal from an
                                             10 order denying a motion to compel arbitration where there is some supporting
                                             11 authority because “[d]enial of a motion to compel arbitration is reviewed de novo.”
                                             12 Ontiveros v. Zamora, No. CIV. S-08-567 LKK/DAD, 2013 WL 1785891, at *3
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                                             13 (E.D. Cal. Apr. 25, 2013). Here, given that the Arbitration Motion advanced
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                                             14 colorable reasons for compelling arbitration and will be reviewed de novo, the first
                                             15 prong of the stay standard is met.
                                             16 II.     FAILURE TO GRANT A STAY WOULD DEPRIVE AUDIBLE OF
                                                        THE SPEED AND ECONOMY OF INDIVIDUAL ARBITRATION
                                             17         AND CAUSE IRREPARABLE HARM.
                                             18         The second prong of the standard asks whether Audible will be irreparably
                                             19 harmed if a stay is not granted. Absent a stay, litigation of the underlying dispute
                                             20 would continue, and advantages of arbitration in speed and economy will be
                                             21 permanently lost. As one California federal court explained, “[i]f, in fact,
                                             22 defendant has a right to arbitrate this dispute, it ought to enjoy some benefit of this
                                             23 right. At this stage of the litigation, for defendant to be forced to proceed to trial,
                                             24 only to afterwards be allowed to arbitrate the dispute, would constitute a hollow
                                             25 victory indeed.” Ontiveros, 2013 WL 1785891, at *5. The Ninth Circuit has
                                             26 recognized this logic. See Alascom, Inc. v. ITT North Elec. Co., 727 F.2d 1419,
                                             27 1422 (9th Cir. 1984) (“[W]here an order grants a stay of arbitration, one party is
                                             28 deprived of the inexpensive and expeditious means by which the parties had agreed
                                                   AUDIBLE’S MOTION TO STAY AS TO
                                                   ERIC WEBER                                8             CASE NO. 2:17-CV-01941 GW (EX)
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                                              1 to resolve their disputes. If that party must undergo the expense and delay of a trial
                                              2 before being able to appeal, the advantages of arbitration—speed and economy—
                                              3 are lost forever.”); Steiner, 2008 WL 1925197, at *4-5 (finding that litigation
                                              4 expenses constitute irreparable harm in the context of whether to stay litigation
                                              5 pending appeal of a motion to compel arbitration and holding appellant made a
                                              6 “strong showing” of irreparable harm where appellant would suffer litigation costs).
                                              7 Although the cost of a litigation may not be considered an irreparable harm in other
                                              8 contexts, “this is a unique situation” because “[t]he main purpose for defendants’
                                              9 appeal is to avoid the expense of litigation” and therefore “the time and expense of
                                             10 litigation do constitute irreparable harm in this instance.” C.B.S., 716 F. Supp. at
                                             11 310.
                                             12         Here, a finding by the Ninth Circuit that Mr. Weber’s assent to the Amazon
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                                             13 COU requires arbitration of his claims against Audible would render unwarranted
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                                             14 any time and expense incurred litigating the case in the District Court while the
                                             15 appeal was pending. And, the absence of a stay of district court proceedings would
                                             16 unnecessarily force the parties to engage in simultaneous litigation in the district
                                             17 and appellate courts. See Steiner, 2008 WL 1925197, at *4-5 (litigation costs
                                             18 constitute irreparable harm). It would also require litigation of class issues as to
                                             19 Mr. Weber’s claims, which he would otherwise be required to arbitrate only on an
                                             20 individual basis. Once Audible is put to the burden and cost of participating in
                                             21 what is likely to be burdensome and costly class-focused discovery, there is no way
                                             22 to ameliorate that burden and cost if the Ninth Circuit reverses and enforces Mr.
                                             23 Weber’s obligations to arbitrate his dispute.
                                             24         Moreover, because the facts as to Mr. Weber and the claims he brings are
                                             25 unique, Mr. Weber’s continued involvement in this case will result in greater
                                             26 burdens in discovery and increases in costs for Audible. Notably, the court granted
                                             27 Audible’s motion to dismiss Mr. McKee’s claims concerning charges to
                                             28 unauthorized cards, and McKee’s claims as to debit card transactions, because
                                                   AUDIBLE’S MOTION TO STAY AS TO
                                                   ERIC WEBER                               9             CASE NO. 2:17-CV-01941 GW (EX)
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                                              1 McKee lacked standing to assert those claims. (Dkts. 53, 61). Thus, adding these
                                              2 claims to this case on behalf of Mr. Weber will significantly increase the scope and
                                              3 complexity of this action far beyond the issues that Mr. McKee could otherwise
                                              4 pursue.
                                              5         Because “there are significant consequences to denying a stay and allowing
                                              6 the case to proceed” pending appeal, the irreparable harm element is met. See
                                              7 Ontiveros, 2013 WL 1785891, at *4. For this reason, as well, the Court should
                                              8 grant a stay.
                                              9 III.    GRANTING A STAY PENDING APPEAL WOULD NOT PREJUDICE
                                                        PLAINTIFF.
                                             10
                                                        While it is manifest that Audible will suffer irreparable harm if it is required
                                             11
                                                  to defend against Mr. Weber’s claims before the Ninth Circuit has acted on the
                                             12
                                                  appeal, Mr. Weber would suffer no comparable harm if the Court were to stay
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                                                  proceedings pending resolution of the appeal. A stay has the potential to maximize
                                             14
                                                  efficiency and economy for both parties, because if Audible prevails on appeal, the
                                             15
                                                  need for further action by this Court as to Mr. Weber (or putative class members he
                                             16
                                                  seeks to represent) would be eliminated. Thus, any costs incurred and time spent
                                             17
                                                  by Mr. Weber in continuing litigation in the district court would have been wasted.
                                             18
                                                  See Steiner, 2008 WL 1925197, at *4-5.
                                             19
                                                        Moreover, this case is still in its nascent stages as to Mr. Weber’s recently
                                             20
                                                  added claims. Granting a stay at this stage of the proceedings would not materially
                                             21
                                                  affect any current or pending efforts, and even if the Ninth Circuit does not rule in
                                             22
                                                  favor of arbitration, the several-month delay will not give rise to more than de
                                             23
                                                  minimis costs. See Murphy, 2008 WL 8608808, at *3; Winig v. Cingular Wireless,
                                             24
                                                  LLC, No. C-06-4297 MMC, 2006 WL 3201047, at *2 (N.D. Cal. Nov. 6, 2006); see
                                             25
                                                  also McVicar v. Goodman Global, Inc., Case No. SACV-13-1223-DOC, 2013 WL
                                             26
                                                  6212149 (C.D. Cal. Nov. 25, 2013) (granting stay in connection with a motion to
                                             27
                                                  consolidate in part because the case was still in its early stages as the court had just
                                             28
                                                   AUDIBLE’S MOTION TO STAY AS TO
                                                   ERIC WEBER                                10             CASE NO. 2:17-CV-01941 GW (EX)
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                                              1 entertained motions to dismiss). This is particularly true here, as under the Ninth
                                              2 Circuit’s current briefing schedule the appeal would be fully briefed by October 1,
                                              3 2018.
                                              4 IV.     GRANTING A STAY WOULD SUPPORT THE STRONG POLICY IN
                                                        FAVOR OF ARBITRATION, SAVE SIGNIFICANT JUDICIAL
                                              5         RESOURCES, AND AVOID THE POTENTIAL FOR CONFLICTING
                                                        RULINGS.
                                              6
                                                        The public interest also supports a stay here. Courts repeatedly have held
                                              7
                                                  that “the strong public policy favoring arbitration warrants issuance of a stay
                                              8
                                                  pending appeal” of an order denying a motion to compel arbitration. Murphy, 2008
                                              9
                                                  WL 8608808, at *4; see Eberle v. Smith, No. 07-CV-0120 W(WMC), 2008 WL
                                             10
                                                  238450, at *4, (S.D. Cal. Jan. 29, 2008) (“It is clear that disputes about whether or
                                             11
                                                  not parties must submit to arbitration take place against a backdrop of policies
                                             12
                                                  encouraging arbitration and the preservation and integrity of judicial resources.
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                                                  Here, continuing to litigate in this Court during the pendency of the appeal would
                                             14
                                                  undermine both policies . . . .”); Laster, 2008 WL 5377635, at *3 (a stay “serves the
                                             15
                                                  public’s interest by promoting the ‘strong federal policy encouraging arbitration as
                                             16
                                                  a prompt, economical and adequate method of dispute resolution’”) (internal
                                             17
                                                  quotation marks and citations omitted); Stern v. Cingular Wireless Corp., et al., No.
                                             18
                                                  CV-05-8842-CAS, 2006 WL 2790243, at *2 (C.D. Cal. Sept. 11, 2006) (“Although
                                             19
                                                  the plaintiff class will have to wait longer to have their injuries redressed, a stay
                                             20
                                                  will serve the public interest in arbitration as articulated by Congress.”). This fact
                                             21
                                                  alone warrants a stay.
                                             22
                                                        In addition, a stay would be in the public interest because it would promote
                                             23
                                                  the important policy goals of judicial efficiency and economy. In particular, a stay
                                             24
                                                  would save significant judicial resources and avoid the possibility of conflicting
                                             25
                                                  rulings by this Court and the Ninth Circuit. Congress has recognized that “one of
                                             26
                                                  the principal benefits of arbitration [lies in] avoiding the high costs and time
                                             27
                                                  involved in judicial dispute resolution.” Blinco v. Green Tree Servicing, LLC, 366
                                             28
                                                   AUDIBLE’S MOTION TO STAY AS TO
                                                   ERIC WEBER                                11             CASE NO. 2:17-CV-01941 GW (EX)
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                                              1 F.3d 1249, 1251 (11th Cir. 2004). That benefit is lost if the case proceeds in the
                                              2 district court while the Court of Appeals considers whether an arbitration agreement
                                              3 should be enforced. Cf. Am. Int’l Underwriters (Philippines), Inc. v. The Cont’l
                                              4 Ins. Co., 843 F.2d 1253, 1258 (9th Cir. 1988) (stay warranted to avoid “duplicative
                                              5 efforts and creating a strong possibility of inconsistent results”).
                                              6         A stay also would avoid this Court’s having to expend its resources further
                                              7 familiarizing itself with the intricacies of a case that ultimately may be heard in an
                                              8 arbitral forum. See Rivers v. The Walt Disney Co., 980 F. Supp. at 1360-61 (C.D.
                                              9 Cal. 1997) 61 (fact that efforts by the court in familiarizing itself with the case
                                             10 could be rendered unnecessary favored granting the motion to stay in connection
                                             11 with a motion to consolidate). And of course, any rulings by this Court while the
                                             12 appeal is pending may be rendered moot if the appeal is successful. See id. at 1361
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                                             13 (factor that court may devote time and energy to rulings that may be for naught
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                                             14 favored granting the motion to stay in connection with a motion to consolidate).
                                             15         In sum, given the strong federal policy favoring arbitration, and the
                                             16 potentially for wasted judicial resources if the stay is not granted, the public interest
                                             17 strongly favors granting a stay pending Audible’s appeal.
                                             18                                     CONCLUSION
                                             19         For all these reasons, the Court should stay proceedings pending the Ninth
                                             20 Circuit’s resolution of the appeal of the denial of the Audible’s Arbitration Motion.
                                             21
                                             22 Dated: June 4, 2018                       FENWICK & WEST LLP
                                             23
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                                             28
                                                   AUDIBLE’S MOTION TO STAY AS TO
                                                   ERIC WEBER                               12            CASE NO. 2:17-CV-01941 GW (EX)
